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                    THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
COMMITTEE ON THE JUDICIARY OF THE         )
U.S. HOUSE OF REPRESENTATIVES,            )
                                          )
                        Plaintiff,        )
v.                                        )  No. 1:19-cv-2379-KBJ
                                          )
DONALD F. McGAHN II,                      )
                                          )
                        Defendant.        )
__________________________________________)

                                 NOTICE OF APPEARANCE

       Please take notice that James M. Burnham, United States Department of Justice, Civil

Division, Federal Programs Branch, hereby enters his appearance as counsel for Defendant Donald

F. McGahn II, in his official capacity as former Counsel to the President.

Dated: August 27, 2019                            Respectfully submitted,

                                                  JOSEPH H. HUNT
                                                  Assistant Attorney General

                                                  JAMES M. BURNHAM
                                                  Deputy Assistant Attorney General

                                                  ELIZABETH J. SHAPIRO
                                                  Deputy Branch Director

                                                  /s/ James M. Burnham
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                                 CERTIFICATE OF SERVICE

       I certify that I electronically filed the foregoing with the clerk using the CM/ECF system,

which will send notification of such filing to all counsel of record in this matter.



                                               /s/ James M. Burnham
                                               JAMES M. BURNHAM




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